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          APPALACHIAN VOICES, ET AL v. EPA, ET AL
                         1:25-CV-01982-PLF




                         EXHIBIT 9

              Declaration of Irena Como

            Southern Environmental Law

                             Center
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 APPALACHIAN VOICES, et al., on behalf
 of themselves and those similarly situated,
 Plaintiffs,
 v.                                                       Civil Action No. 1:25-cv-01982-PLF
 UNITED STATES ENVIRONMENTAL
 PROTECTION AGENCY, et al.,
 Defendants.

            DECLARATION OF IRENA COMO IN SUPPORT OF PLAINTIFFS’
                     MOTION FOR CLASS CERTIFICATION

       I, Irena Como, hereby declare under penalty of perjury that the following is true and

correct:

       1.        I am a Senior Attorney with the Southern Environmental Law Center (“SELC”),

where I have worked full time since 2022. I am one of the attorneys representing the Plaintiffs

and the proposed class members in this case. I am licensed to practice law in North Carolina and

New York.

       2.        I submit this declaration in support of the Plaintiffs’ Motion for Class

Certification.

       3.        SELC is a nonprofit, nonpartisan environmental advocacy organization working

to protect the air, water, climate, and communities of the Southeast. With over 120 attorneys

across nine offices in six states, SELC has decades of experience in litigation and advocacy to

safeguard environmental protections and advance environmental justice. SELC has litigated

numerous complex cases in federal and state courts across the country, including complex cases

involving federal environmental statutes, administrative law, and constitutional law. Some

examples include a range of different litigation involving the large scale remediation of coal ash

Appalachian Voices, et al. v. Duke Energy Carolinas, LLC, No. 1:17-CV-1097 (M.D.N.C. Dec.



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5, 2017); Mobile Baykeeper, Inc. v. Alabama Power Company, No. 1:22-cv-00382 (S.D. Ala.

Sept. 26, 2022); challenges to federal rulemaking including Wild Virginia v. Council on Env't

Quality, 56 F.4th 281, 295 (4th Cir. 2022); S.C. Coastal Conservation League v. Wheeler, No.

2:20-cv-01687-BHH (D.S.C.); complex cases involving pipelines including United States

Forest Serv. v. Cowpasture River Pres. Ass’n, 590 U.S. 604 (2020); Defs. of Wildlife v. United

States Dep’t of the Interior, 931 F.3d 339 (4th Cir. 2019); Sierra Club v. United States Dep’t of

the Interior, 899 F.3d 260 (4th Cir. 2018); cases centered on environmental justice including

Friends of Buckingham v. State Air Pollution Control Bd., 947 F.3d 68 (4th Cir. 2020); and

constitutional challenges including The Wilderness Society v. U.S. Forest Service, No. 23-

1592(L), 2023 WL 4784199 (4th Cir. July 10, 2023) (separation of powers), and N. Carolina

State Conf. of Nat'l Ass'n for the Advancement of Colored People v. Moore, 876 S.E.2d 513,

518 (N.C. 2022) (voting rights and constitutional amendment).

       4.      SELC has significant expertise with the Inflation Reduction Act (“IRA”) and the

programs it funds. Many of SELC’s longstanding clients and partners are recipients of IRA-

funded grants. Since January 2025, we have closely tracked the freeze and subsequent termination

of IRA-funded grant programs. At the Fourth Circuit, SELC is currently litigating Sustainability

Institute v. Trump, No. 25-1575, 2025 WL 1587100 (4th Cir. June 5, 2025), a federal challenge to

the unlawful freeze and termination of grants by EPA, USDA and other agencies under the

Administrative Procedure Act, the Constitution and nonstatutory ultra vires grounds on behalf of

13 nonprofits and 6 cities, co-counseling with Public Rights Project.

       5.      Southern Environmental Law Center has assigned four qualified attorneys to

litigate this case: myself, Ben Grillot, Kimberley Hunter, and James S. Whitlock.




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       6.      I have been licensed to practice law and have continuously practiced since 2009.

Prior to joining SELC, I served as a public defender for the Legal Aid Society of New York from

2009 to 2016. From 2016 to 2022, I worked at the American Civil Liberties Union of North

Carolina, where I held various roles, including as Acting Legal Director and Deputy Legal

Director. In those roles, I managed a full docket of public interest impact litigation focused on

constitutional and civil rights and served as lead counsel in complex cases before federal district

and appellate courts, including briefing and argument in North Carolina federal district courts,

the North Carolina Court of Appeals, and the U.S. Court of Appeals for the Fourth Circuit.

       7.      I have worked on numerous cases that have provided me with the necessary

knowledge and skills to prosecute the class action claims in this case, including: Sustainability

Institute v. Trump, 2:25-cv-02152-RMG, (D.S.C. March 19, 2025); Environmental Justice

Community Action Network v. GFL Environmental, Inc., 7:24-cv-00831 (E.D.N.C. 2024) (a

Clean Water and Resource Conservation and Recovery Act citizen suit consent decree addressing

a landfill’s longstanding water and air pollution in a rural North Carolina community); NAACP

v. City of Charlotte, 20-cv-8563 (Mecklenburg Cty. Super. Ct., 2020) (co-counsel in a challenge

to Charlotte’s police department’s use of force against peaceful protesters, resulting in a four-

year ban on tear gas, kettling and other crowd-control tactics); Johnson v. Jessup, 1:18-cv-0467

(M.D.N.C. 2018) (co-counsel in a certified 23(b)(2) class action that reformed North Carolina

DMV license suspension practices for inability to pay); Allison v. Allen, 1:19-cv-000489

(M.D.N.C. 2019) (co-counsel in a certified 23(b)(2) class action challenging secured money bail

in Alamance County); Dewalt v. Hooks, 19-cv-14089 (N.C. Super. Ct. 2019) (class action

challenging the use of solitary confinement across North Carolina state prisons); M.E. v. T.J., 275

N.C. App. 528 (2020) (lead counsel in a constitutional challenge to North Carolina’s exclusion



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of same-sex couples from domestic violence protections); Bryant v. Woodall, 1:16-cv-01368

(M.D.N.C., 2016) (co-counsel in a constitutional challenge to North Carolina’s 20-week abortion

ban); Peltier v. Charter Day School, 7:16-cv-00030 (E.D.N.C. 2016) (a constitutional challenge

to a public charter school’s gender-discriminatory uniform policy), aff’d in part, rev’d in part and

remanded, 37 F.4th 104 (4th Cir. 2022), on reh’g en banc, cert. denied, 143 S. Ct. 2657 (2023).

       8.       My colleague and co-counsel Ben Grillot is a Senior Attorney at Southern

Environmental Law Center. Mr. Grillot has been licensed to practice law, and has continually

practiced, since 2010. Prior to joining SELC, Mr. Grillot was an associate at the law firm of

Hughes Hubbard and Reed, LLP from October 2010 until October 2014. From October 2014 to

February 2025, Mr. Grillot was a Trial Attorney in the Environment and Natural Resources

Division of the United States Department of Justice.

       9.       While at the Department of Justice, Mr. Grillot served as counsel of record on

numerous complex cases in both federal district and appellate courts. Mr. Grillot has defended

EPA actions in petition for review cases, briefing and arguing cases including: Food & Water

Watch v. EPA, No. 20-71554 (9th Cir.) (a petition challenging monitoring requirements for CAFO

permits in Idaho); Sinclair Wyoming Refin. Co. v. EPA, No. 22-1074 (D.C. Cir.) (a petition

involving exemptions to renewable fuel standards for small refineries); Texas v. EPA, No. 23-

60069 (5th Cir.) (a petition challenging EPA’s requirements for contingency measures for ozone

NAAQS). Mr. Grillot has also served as lead or co-counsel on Clean Water Act Section 404

enforcement cases including: United States v. Andrews, No. 20-cv-1300 (D. Ct.); United States

v. Petroff Trucking, Inc., No. 20-cv-930 (S.D. Ill.); United States v. Vorsteveld Farm, No. 24-cv-

897 (D. Vt.).




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       10.     Also, while at the Department of Justice, Mr. Grillot first-chaired a jury trial to

verdict in United States v. 1003.58 Acres of Land, No. 16-cv-1014 (C.D. Cal.) and litigated

numerous administrative law cases involving challenges to agency actions in district court

including: Fond du Lac Band of Lake Superior Chippewa v. EPA, No. 19-cv-2489 (D. Minn.)

(APA claims against EPA and the Army Corps of Engineers in connection with a mining permit);

Northern Plains Res. Council v. U.S Army Corps, No. 19-cv-44 (D. Mont.) (challenging the use

of Nationwide Permit 12 for pipeline projects).

       11.     My colleague and co-counsel Kimberley Hunter is the Litigation Director for the

Southern Environmental Law Center. In that role, Ms. Hunter oversees more than one hundred

litigators working on a range of cases as well as litigating her own cases. Ms. Hunter was first

licensed in 2010 and has continuously practiced law at SELC since then, leading complex

appellate cases, including briefing and argument before federal district courts in North Carolina,

South Carolina, Virginia, and New York, the U.S. Court of Appeals for the Fourth Circuit, the

North Carolina Court of Appeals and the North Carolina Supreme Court.

       12.     Ms. Hunter has led numerous cases that have provided her with the necessary

knowledge, skill, and resources to prosecute the class action claims in this case. Ms. Meyer is

lead counsel in Sustainability Institute v. Trump, 2:25-cv-02152, (D.S.C. March 19, 2025) which

raises many of the same issues as those present in this case. Ms. Meyer has extensive civil

litigation experience including including: Wild Virginia v. Council on Env't Quality, 56 F.4th 281,

286 (4th Cir. 2022) (lead counsel challenge to agency rulemaking seeking nationwide relief on

behalf of seventeen plaintiffs); No Mid-Currituck Bridge-Concerned Citizens v. N. Carolina

Dep't of Transportation, 60 F.4th 794 (4th Cir. 2023) (lead counsel in challenge to $1 Billion

bright to North Carolina’s Outer Banks); Catawba Riverkeeper Found. v. N. Carolina Dep't of



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Transportation, 843 F.3d 583, 585 (4th Cir. 2016) (lead counsel in challenge to $1 Billion

highway project in Charlotte, North Carolina which was subsequently abandoned); Sound Rivers

v. U.S. Fish and Wildlife Serv, 4:18-CV-00097 (E.D. N.C. 2018) (lead counsel in challenge to

large highway project which ultimately led to a settlement of over $50 Million and multiple state

policy changes); The News & Observer Publ'g Co. v. McCrory, 251 N.C. App. 211, 795 S.E.2d

243 (2016) (co-counsel to large coalition of news outlets and non-profit organizations in suit

related to systematic non-compliance with the North Carolina Public Records Act, case resulted

in large settlement involving significant policy changes). Ms. Hunter has also litigated a number

of constitutional cases including: The Wilderness Society v. U.S. Forest Service, No. 23-1592(L),

2023 WL 4784199 (4th Cir. July 10, 2023) (counsel and oral advocate in separation of powers

case challenging the constitutionality of provisions in the Inflation Reduction Act that impacted

litigation over the Mountain Valley Pipeline); N. Carolina State Conf. of Nat'l Ass'n for the

Advancement of Colored People v. Moore, 876 S.E.2d 513, 518 (N.C. 2022) (lead counsel in case

challenging the ability of a racially gerrymandered legislature to amend North Carolina’s

constitution).

        13.      My colleague and co-counsel James S. Whitlock is a Senior Attorney at Southern

Environmental Law Center. Mr. Whitlock was first licensed in 2004 and has continuously

practiced law since that time. Prior to joining SELC in 2023, Mr. Whitlock was a partner in the

law firm Davis & Whitlock, P.C., where his nationwide practice focused on complex

environmental damage litigation in federal court, with an emphasis on mass environmental torts,

citizen suit litigation, and class action litigation.

        14.      Mr. Whitlock has worked on numerous cases that have provided him with the

necessary knowledge, skill and resources to prosecute the class action claims in this case,



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including: In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, MDL 2179

(E.D. La.) (represented over 800 businesses and individuals for economic and property losses in

the BP Oil Spill litigation, case partially settled as a class action in 2012); Mauldin, et al. v.

ExxonMobil Pipeline Company, et al., No. 23-cv-13-796 (Circuit Court of Faulkner County,

Arkansas) (co-counsel in litigation involving pipeline rupture in Mayflower, Arkansas, which

resulted in property damages and other injuries to over 300 residents—cases settled as mass

action in 2015); Tipton, et al. v. CSX Transportation, Inc., et al., No. 3:15-cv-00311 (E.D. Tenn.)

(co-counsel in putative class action involving a train derailment and toxic chemical fire/exposure

resulting in the evacuation of nearly 7,0000 people in Blount County, Tennessee); Sullivan et al.

v. Saint-Gobain Performance Plastics Corporation, No. 5:16-cv-125 (D. Vt.) (co-counsel in class

action involving widespread groundwater and drinking water contamination with PFOA in

Bennington, Vermont—property and exposure classes certified in 2019, settled on class-wide

basin in 2022).

       15.        In bringing this action, SELC is co-counseling with attorneys at Public Rights

Project and Earthjustice, as well as Lawyers for Good Government, who are not seeking

appointment as class counsel.

       16.        In partnership with our co-counsel at Public Rights Project and Earthjustice, as

well as Lawyers for Good Government, SELC has spent substantial time and effort investigating

this case and EPA’s termination of the Section 138 Environmental and Climate Justice Block

grants. In addition to direct engagement with our clients in this case, SELC’s legal team has

developed a comprehensive understanding of the legal and factual context of the actions at issue

here by litigating and conducting extensive discovery in Sustainability Institute.




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       17.     SELC is prepared to contribute significant pro bono resources to represent the

class in this case. Together, Plaintiffs' counsel have paid for all costs associated with this

litigation to date and will continue to do so.

       I declare under penalty of perjury that the foregoing is true and correct. Executed on this

26th day of June 2025.


                                                       ______________________________
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